       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 1 of 20



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 9

10
                                 UNITED STATES DISTRICT COURT
11
                              NORTHERN DISTRICT OF CALIFORNIA
12
                                         OAKLAND DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)                  Master File No. 07-CV-5944-JST
14   ANTITRUST LITIGATION
     ____________________________________           MDL No. 1917
15
     This Document Relates to:                      DIRECT PURCHASER PLAINTIFFS’
16                                                  NOTICE OF MOTION AND MOTION FOR
                                                    ORDER AUTHORIZING DISTRIBUTION
17   ALL DIRECT PURCHASER ACTIONS
                                                    OF SETTLEMENT FUNDS;
                                                    MEMORANDUM OF POINTS AND
18                                                  AUTHORITIES IN SUPPORT THEREOF
19                                                  Date:      May 26, 2022
20                                                  Time:      2:00 p.m.
                                                    Judge:     Honorable Jon S. Tigar
21                                                  Courtroom: 6 - 2nd Floor

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          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
           Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 2 of 20




 1                                                      TABLE OF CONTENTS

 2
     TABLE OF CONTENTS .................................................................................................................... i
 3
     TABLE OF AUTHORITIES .............................................................................................................. ii
 4
     NOTICE OF MOTION AND MOTION .............................................................................................1
 5
     STATEMENT OF ISSUES TO BE DECIDED ..................................................................................2
 6
     MEMORANDUM OF POINTS AND AUTHORITIES .....................................................................2
 7
     I.        INTRODUCTION ...................................................................................................................2
 8
     II.       STATEMENT OF RELEVANT FACTS ................................................................................3
 9
               A.        Background of the Settlements ....................................................................................3
10
               B.        Notice to Class Members Regarding the Settlements .................................................5
11
               C.        Notice to Class Members Regarding the Claims Process ...........................................6
12
               D.        The Settlement Administrator’s Review of Claims.....................................................8
13
               E.        Settlement Funds Available for Distribution .............................................................11
14
               F.        Calculations of Claimants’ Pro Rata Shares ..............................................................12
15
     III.      ARGUMENT ........................................................................................................................13
16
     IV.       CONCLUSION .....................................................................................................................17
17

18

19

20

21

22

23

24

25

26

27

28
                                                                          i
             DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                            SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
        Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 3 of 20




 1                                                      TABLE OF AUTHORITIES

 2
     Cases
 3   Downes v. Wisconsin Energy Corp. Ret. Account Plan,
        No. 09-C-0637, 2012 WL 1410023 (E.D. Wis. Apr. 20, 2012) ................................................... 16
 4
     In re Anthem, Inc. Data Breach Litig.,
 5      327 F.R.D. 299 (N.D. Cal. 2018) ................................................................................................. 14
     In re Auto. Parts Antitrust Litig.,
 6      No. 12-MD-02311, 2019 WL 7877812 (E.D. Mich. Dec. 20, 2019) ........................................... 16
 7   In re Cathode Ray Tube (CRT) Antitrust Litig.,
        MDL No. 1917, Master Case No. C-07-5944 JST, Case No. 14-cv-2058 JST, 2017 WL 565003
 8      (N.D. Cal. Feb. 13, 2017) ....................................................................................................... 6, 7, 8
     In re Cathode Ray Tube (CRT) Antitrust Litig.,
 9      No. 14-CV-2058 JST, 2017 WL 2481782 (N.D. Cal. June 8, 2017) ............................................. 5
10   In re Dynamic Random Access Memory (DRAM) Antitrust Litig.,
        No. C 06-4333 PJH, 2013 WL 12333442 (N.D. Cal. Jan. 8, 2013), report and recommendation
11      adopted by 2014 WL 12879520 (N.D. Cal. June 27, 2014) ......................................................... 16
     In re Initial Pub. Offering Sec. Litig.,
12      671 F. Supp. 2d 467 (S.D.N.Y. 2009) .......................................................................................... 16
13   In re Ins. Brokerage Antitrust Litig.,
        297 F.R.D. 136 (D.N.J. 2013) ...................................................................................................... 16
14   In re Int’l Air Transp. Surcharge Antitrust Litig.,
        No. M 06-01793 CRB, 2011 WL 6337625 (N.D. Cal. Dec. 19, 2011), aff’d, 577 F. App’x 711
15      (9th Cir. 2014) .............................................................................................................................. 14
16   In re Lithium Ion Batteries Antitrust Litig.,
        No. 13-md-02420-YGR, MDL No. 2420 (N.D. Cal. Dec. 14, 2020) (ECF No. 2684).......... 15–16
17   In re Optical Disk Drive Antitrust Litig.,
        No. 3:10-md-02143 RS (N.D. Cal. Sept. 16, 2019) (ECF Nos. 2906, 2906-1)............................ 15
18
     Mehling v. New York Life Ins. Co.,
19      248 F.R.D. 455 (E.D. Pa. 2008) ................................................................................................... 16
     Slipchenko v. Brunel Energy, Inc.,
20      No. CIV.A. H-11-1465, 2015 WL 338358 (S.D. Tex. Jan. 23, 2015) ......................................... 16
21   Standard Iron Works v. ArcelorMittal,
        No. 08 C 5214, 2015 WL 6165024 (N.D. Ill. Oct. 20, 2015)....................................................... 16
22

23   Statutes
     Clayton Act, 15 U.S.C. § 15 ............................................................................................................... 4
24
     Sherman Act, 15 U.S.C. § 1 ........................................................................................................... 3–4
25

26   Treatises
     4 Newberg on Class Actions (5th ed.) .............................................................................................. 13
27

28
                                                                              ii
             DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                            SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
         Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 4 of 20




 1                                NOTICE OF MOTION AND MOTION

 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that on Thursday, May 26, 2022, at 2:00 p.m., or as soon

 4   thereafter as counsel can be heard, before the Honorable Jon S. Tigar, United States District Judge,

 5   at the United States Courthouse, 1301 Clay Street, Courtroom 6, Oakland, California, Direct

 6   Purchaser Plaintiffs (“Plaintiffs”) will move this Court for an Order authorizing the distribution of

 7   settlement proceeds obtained in the Direct Purchaser Actions to class members who submitted

 8   valid claims.

 9          Plaintiffs request that the Court enter an Order authorizing payment of all claims approved by

10   the Settlement Administrator, KCC Class Action Services, LLC, the successor company of Gilardi &

11   Co. LLC (“Settlement Administrator”)—less funds reserved for claims administration costs, taxes

12   and other issues—from the settlement funds according to the pro rata Plan of Allocation previously

13   approved by the Court. Plaintiffs further request that the Court enter an Order authorizing payment

14   to the Settlement Administrator for notice and claims administration costs incurred but not yet paid.

15          This Motion is based upon this Notice of Motion and Motion, the Memorandum of Points

16   and Authorities in Support Thereof, the Declaration of Rachel Christman re: Claims Processing and

17   Distribution of the Net Settlement Funds (“Christman Declaration” or “Christman Decl.”), the

18   [Proposed] Order Granting Direct Purchaser Plaintiffs’ Motion for an Order Authorizing

19   Distribution of Settlement Funds, submitted herewith, as well as the complete files and records in

20   this case, and upon such argument at the hearing on this motion and in further pleadings as may be

21   presented to the Court.1

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      After Plaintiffs file this Motion, it will be posted, with all supporting materials, on the CRT
27
     settlement website (www.CRTDirectPurchaserAntitrustSettlement.com) maintained by the
28   Settlement Administrator.
                                                         1
           DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                          SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
          Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 5 of 20




 1                             STATEMENT OF ISSUES TO BE DECIDED

 2           1.     Whether to adopt and approve the Settlement Administrator’s recommendations

 3   regarding the ineligibility of the claims, as set forth in Exhibit B to the Christman Declaration.

 4           2.     Whether to authorize payment of all claims approved by the Settlement

 5   Administrator from the settlement funds according to the pro rata Plan of Allocation and as set

 6   forth in Exhibit D to the Christman Declaration.

 7           3.     Whether the Settlement Administrator shall be reimbursed for costs and expenses

 8   incurred in the amount of $1,291,445.86.

 9           4.     Whether to reserve $70,660.76 for the payment of additional claims administration

10   costs and expenses, and $250,000.00 for potential tax liability and other issues.

11                        MEMORANDUM OF POINTS AND AUTHORITIES

12   I.      INTRODUCTION

13           Direct Purchaser Plaintiffs (“Plaintiffs”) have settled this action with all Defendants, except

14   the Irico Defendants, resulting in settlement proceeds of $212,200,000.00, plus accrued interest.2

15   2
       The “Settling Defendants” are: Chunghwa Picture Tubes, Ltd., Hitachi, Ltd., Hitachi Asia, Ltd.,
16   Hitachi America, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi Displays, Ltd. (n/k/a Japan
     Display Inc.), LG Electronics, Inc., LG Electronics USA, Inc., LG Electronics Taiwan Taipei Co.,
17   Ltd., Mitsubishi Electric Corporation, Mitsubishi Electric US, Inc., Mitsubishi Electric Visual
     Solutions America, Inc., Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.),
18   Panasonic Corporation of North America, MT Picture Display Co., Ltd., Koninklijke Philips
     Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries
19
     (Taiwan), Ltd., Philips da Amazonia Industria Electronica Ltda., Samsung SDI Co. Ltd., Samsung
20   SDI America, Inc., Samsung SDI Brasil, Ltd., Tianjin Samsung SDI Co., Ltd., Samsung Shenzhen
     SDI Co., Ltd., SDI Malaysia Sdn. Bhd., SDI Mexico S.A. de C.V., Thomson SA (n/k/a
21   Technicolor SA), Thomson Consumer Electronics, Inc. (n/k/a Technicolor USA, Inc.), Toshiba
     Corporation, Toshiba America Information Systems, Inc., Toshiba America Consumer Products,
22   L.L.C., and Toshiba America Electronic Components, Inc. (together with Chunghwa Picture Tubes
     (Malaysia) Sdn. Bhd., Daewoo International Corporation, Daewoo Electronics Corporation (f/k/a
23
     Daewoo Electronics Company, Ltd.), Shenzhen SEG Hitachi Color Display Devices, Ltd., Irico
24   Group Corporation, Irico Group Electronics Co., Ltd., Irico Display Devices Co., Ltd., LP Displays
     International, Ltd. (f/k/a LG.Philips Displays), Matsushita Electronic Corporation (Malaysia) Sdn.
25   Bhd., Panasonic Consumer Electronics Co., Beijing-Matsushita Color CRT Company, Ltd., Philips
     Consumer Electronics Co., Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
26   Samtel Color, Ltd., Tatung Company of America, Inc., Technologies Displays Americas LLC
27   (f/k/a Thomson Displays Americas LLC), Thai CRT Company, Ltd., Toshiba America, Inc.,
     Toshiba America Consumer Products, Inc., Toshiba Display Devices (Thailand) Company, Ltd.,
28   and Videocon Industries, Ltd., “Defendants”).
                                                       2
            DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                           SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
           Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 6 of 20




 1   This Court has granted final approval of each of the settlement agreements and the time for appeal

 2   has expired. All settlement payments have been made and were placed in interest-earning escrow

 3   accounts. Notice of the settlements was sent to class members, certain class members opted out,

 4   and potential class members submitted claims to the settlement proceeds.

 5            The Settlement Administrator has completed an extensive, fair, and reasonable review of

 6   the claims. As of March 31, 2022, the Net Settlement Funds, which include the settlement proceeds

 7   plus interest, less Court-ordered attorneys’ fees, already-paid costs and expenses incurred by the

 8   Settlement Administrator, and incentive awards to Class Representatives, total approximately

 9   $143,930,610.22. Christman Decl. ¶ 29. After payment of unreimbursed notice and claims

10   administration costs of $1,291,445.86, reserving funds for additional estimated administration costs

11   of $70,660.76 and $250,000.00 for potential tax liability and other issues, Plaintiffs propose

12   distribution now of $142,318,494.27. Id. ¶ 34, Ex. D.

13            As set forth in the pro rata Plan of Allocation previously approved by the Court, payments

14   to class members will be based on the relative value of their purchases, determined by the cost of

15   the Cathode Ray Tubes (“CRTs”) and/or CRT Finished Products they purchased. Over 99% of the

16   proceeds will be distributed to the top 113 claimants. Id. ¶ 34. The class will also benefit from

17   Plaintiffs’ proposal to make a minimum payment to every eligible class member of $10.00, even if

18   those class members’ strict pro rata share of the settlement funds would be less, thus conserving

19   administrative costs.

20            Plaintiffs request that the Court enter the Proposed Order, submitted herewith, which

21   authorizes payment of all claims approved by the Settlement Administrator—less funds reserved for

22   claims administration costs, taxes and other issues—from the Net Settlement Funds according to the

23   pro rata Plan of Allocation previously approved by the Court.

24   II.      STATEMENT OF RELEVANT FACTS

25            A.     Background of the Settlements

26            This multidistrict litigation arises from an alleged worldwide conspiracy to fix prices of

27   CRTs. CRTs are the primary components of CRT televisions and computer monitors. The first of

28   many direct purchaser class actions was filed in November of 2007 alleging violations of Section 1
                                                       3
             DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                            SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 7 of 20




 1   of the Sherman Act, 15 U.S.C. § 1, and Section 4 of the Clayton Act, 15 U.S.C. § 15. Defendants

 2   denied Plaintiffs’ allegations and asserted numerous affirmative defenses. In exchange for the

 3   release of Plaintiffs’ claims, Plaintiffs reached nine separate settlement agreements with Settling

 4   Defendants. The settlements total $212,200,000.00.

 5          The Court held final approval hearings on the settlements; determined that each settlement

 6   was fair, adequate, and reasonable; approved each settlement; approved a pro rata Plan of

 7   Allocation; found notice to the class for each settlement—all of which included the pro rata plan—

 8   was adequate and satisfied the requirements of due process; and dismissed the litigation with

 9   prejudice against Settling Defendants. See Order Granting Final Approval of Class Action

10   Settlements with CPT & Philips ¶¶ 7, 8, 11 (ECF No. 1412); Final J. of Dismissal with Prejudice as

11   to Defs. Koninklijke Philips Elecs. N.V., Philips Elecs. N. Am. Corp., Philips Elecs. Indus.

12   (Taiwan), Ltd., & Philips da Amazonia Industria Electronica Ltda. ¶¶ 3, 6, 9 (ECF No. 1413); Final

13   J. of Dismissal with Prejudice as to Defs. Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. &

14   Chunghwa Picture Tubes, Ltd. ¶¶ 3, 6, 9 (ECF No. 1414); Order Granting Final Approval of Class

15   Action Settlement with Panasonic ¶¶ 7, 8, 11 (ECF No. 1508); Final J. of Dismissal with Prejudice

16   as to Defs. Panasonic Corp. (f/k/a Matsushita Elec. Indus. Co., Ltd.), Panasonic Corp. of N. Am., &

17   MT Picture Display Co., Ltd. ¶¶ 3, 6, 9 (ECF No. 1509); Final J. of Dismissal with Prejudice as to

18   Def. Beijing Matsushita Color CRT Co., Ltd. ¶¶ 3, 6, 9 (ECF No. 1510); Order Granting Final

19   Approval of Class Action Settlement with LG ¶¶ 7, 8, 11 (ECF No. 1621); Final J. of Dismissal

20   with Prejudice as to Defs. LG Elecs., Inc.; LG Elecs. USA, Inc.; & LG Elecs. Taiwan Taipei Co.,

21   Ltd. ¶¶ 3, 6, 9 (ECF No. 1622); Order Granting Final Approval of Class Action Settlement with

22   Toshiba ¶¶ 7, 8, 10, 11 (ECF No. 1791); Final J. of Dismissal with Prejudice as to Defs. Toshiba

23   Corp., Toshiba Am. Info. Sys., Inc., Toshiba Am. Consumer Prods., L.L.C., & Toshiba Am. Elec.

24   Components, Inc. ¶¶ 3, 6, 9 (ECF No. 1792); Order Granting Final Approval of Class Action

25   Settlements with Hitachi & Samsung SDI Defs. ¶¶ 7, 8, 10, 11 (ECF No. 3931); Final J. of

26   Dismissal with Prejudice as to Defs. Samsung SDI Co. Ltd. (f/k/a Samsung Display Devices Co.,

27   Ltd.); Samsung SDI Am., Inc.; Samsung SDI Brasil, Ltd.; Tianjin Samsung SDI Co., Ltd.;

28   Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; & SDI Mexico S.A. de C.V. ¶¶ 3, 6, 9
                                                  4
          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 8 of 20




 1   (ECF No. 3932); Final J. of Dismissal with Prejudice as to Defs. Hitachi, Ltd.; Hitachi Displays,

 2   Ltd. (n/k/a Japan Display Inc.); Hitachi Am., Ltd.; Hitachi Asia Ltd.; & Hitachi Elec. Devices

 3   (USA) Inc. ¶¶ 3, 6, 9 (ECF No. 3933); Order Granting Final Approval of Class Action Settlement

 4   with Thomson & TDA Defs. 1, 11–12 (ECF No. 4260); Final J. of Dismissal with Prejudice as to

 5   Defs. Thomson SA (now known as Technicolor SA) & Thomson Consumer Elecs., Inc. (now

 6   known as Technicolor USA, Inc.) ¶¶ 3, 5 (ECF No. 4416); Final J. of Dismissal with Prejudice as

 7   to Def. Technologies Displays Ams. LLC (formerly known as Thomson Displays Ams. LLC)

 8   (“TDA”) ¶¶ 3, 5 (ECF No. 4417); In re Cathode Ray Tube (CRT) Antitrust Litig., No. 14-CV-2058

 9   JST, 2017 WL 2481782, at *1, *3–5 (N.D. Cal. June 8, 2017) (“Mitsubishi Final Approval

10   Order”); and Final J. of Dismissal with Prejudice as to the Mitsubishi Elec. Defs. ¶¶ 4, 6 (ECF No.

11   5170).

12            B.     Notice to Class Members Regarding the Settlements

13            The Settlement Administrator sent notices to class members regarding the settlements and

14   created a settlement website which contained the notices and other relevant information and

15   documents, including the settlement agreements. See Declaration of Markham Sherwood re

16   Dissemination of Notice to Class Members and Requests for Exclusion [re Chunghwa and Philips]

17   ¶¶ 4–6 (ECF No. 1294) (“Chunghwa & Philips Notice Decl.”); Declaration of Markham Sherwood

18   re Dissemination of Panasonic Notice to Class Members and Requests for Exclusion ¶¶ 4–6 (ECF

19   No. 1434) (“Panasonic Notice Decl.”); Declaration of Markham Sherwood re Dissemination of LG

20   Notice to Class Members and Requests for Exclusion ¶¶ 4–6 (ECF No. 1541) (“LG Notice Decl.”);

21   Declaration of Markham Sherwood re Dissemination of Toshiba Notice to Class Members and

22   Requests for Exclusion ¶¶ 4–6 (ECF No. 1696) (“Toshiba Notice Decl.”); Declaration of Ross

23   Murray re Dissemination of Hitachi/Samsung Notice to Class Members and Requests for Exclusion

24   ¶¶ 4–6 (ECF No. 2650) (“Hitachi & Samsung Notice Decl.”); Amended Declaration of Ross

25   Murray re Dissemination of Thomson/TDA Notice to Class Members and Requests for Exclusion

26   ¶¶ 4–6 (ECF No. 4020) (“Thomson Notice Decl.”); Declaration of Rachel Christman re

27   Dissemination of Notice to Class Members re Mitsubishi Electric Settlement and Application for

28   Attorneys’ Fees and Expenses and Incentive Awards ¶¶ 5–8 (ECF No. 5126) (“Mitsubishi Notice
                                                   5
          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 9 of 20




 1   Decl.”). The notices informed class members that the Plan of Allocation provides for distribution

 2   of the Net Settlement Funds on a pro rata basis:

 3          [E]ach Settlement Class member’s pro rata share of the Settlement Fund will be
            determined by computing each valid claimant’s total CRT Product purchases
 4          divided by the total valid CRT Product purchases claimed. This percentage is
            multiplied to the Net Settlement Fund (total settlements minus all costs, attorneys’
 5          fees, and expenses) to determine each claimants pro rata share of the Settlement
 6          Fund. To determine your CRT Product purchases, CRT tubes (color display and
            color picture) are calculated at full value (100%) while CRT televisions are valued
 7          at 50% and CRT computer monitors are valued at 75%.

 8   Chunghwa & Philips Notice Decl., Ex. A at 3. See also Panasonic Notice Decl., Ex. A at 3; LG

 9   Notice Decl., Ex. A at 3; Toshiba Notice Decl., Ex. A at 3; Hitachi & Samsung Notice Decl., Ex. A

10   at 3; Thomson Notice Decl., Ex. A at 3; Mitsubishi Notice Decl., Ex. A at 3.

11          C.      Notice to Class Members Regarding the Claims Process

12          Potential class members were provided notice of two separate periods to submit claims. See

13   Christman Decl. ¶¶ 3(g), (i). During the second claims period, potential class members were also

14   permitted to supplement or amend their previous claims. See In re Cathode Ray Tube (CRT)

15   Antitrust Litig., MDL No. 1917, Master Case No. C-07-5944 JST, Case No. 14-cv-2058 JST, 2017

16   WL 565003, at *7 (N.D. Cal. Feb. 13, 2017) (“Mitsubishi Preliminary Approval Order”);

17   Mitsubishi Notice Decl., Ex. A at 3.

18          The first claims period occurred following final approval of the Chunghwa, Philips,

19   Panasonic, LG, Toshiba, Hitachi, and Samsung settlements. On September 11, 2015, pursuant to

20   the Court’s Order Approving Claim Form and Directing Notice to Class Members regarding

21   Distribution of Settlement Fund at 1 (ECF No. 3934) (“Order Approving Claim Form”), the

22   Settlement Administrator mailed, via U.S. Postal Service, Notice Regarding Claims and Proof of

23   Claim forms to the 16,941 unique names and addresses on the class list. Declaration of Ross

24   Murray re Dissemination of Notice and Claim Forms to Class Members and Lack of Objections to

25   Plaintiff’s Motion for Attorneys’ Fees and Costs ¶ 4 (ECF No. 4114-2) (“Claim Form Notice

26   Decl.”). The Settlement Administrator updated the class list, including by researching company

27   names lacking addresses, adding addresses where found, processing the names and addresses

28   through the National Change of Address Database to update any addresses on file with the United
                                                   6
          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 10 of 20




 1   States Postal Service. Id. The Settlement Administrator also sent the Notice Regarding Claims to

 2   the 873 unique email addresses on the class list, providing information about how to obtain Proof

 3   of Claim forms and how to submit them by mail or through the CRT settlement website

 4   (www.CRTDirectPurchaserAntitrustSettlement.com). See id. ¶¶ 5–7, Ex. A; Christman Decl.

 5   ¶ 3(g). Summary notice was also provided by publication in the Wall Street Journal. Claim Form

 6   Notice Decl. ¶ 10, Ex. C; Christman Decl. ¶ 4. Potential class members had ninety (90) days to

 7   submit a Proof of Claim form; the deadline was December 10, 2015. Order Approving Claim Form

 8   at 1; Claim Form Notice Decl., Ex. A.

 9          The second claims period occurred following final approval of the remaining settlements.

10   On or before February 27, 2017, pursuant to the Mitsubishi Preliminary Approval Order, the

11   Settlement Administrator mailed, via U.S. Postal Service, notice to the 19,609 unique names and

12   addresses on the updated class list informing potential class members of a second opportunity to

13   submit claims, or to amend their previous claims, along with information on how to do so. See

14   Mitsubishi Notice Decl. ¶¶ 5, 7, Ex. A at 3; Christman Decl. ¶ 3(i). The Settlement Administrator

15   also sent the same notice to the 1,343 unique email addresses on the class list. Declaration of

16   Rachel Christman re Class Members’ Response to Notice ¶ 4 (ECF No. 5163-2) (“Mitsubishi Final

17   Approval Decl.”). Summary notice was also provided by publication in the New York Times and

18   the Wall Street Journal. Mitsubishi Notice Decl. ¶ 11, Exs. B, C; Christman Decl. ¶ 4. Potential

19   class members had ninety (90) days, or until May 29, 2017, to submit a new or amended Proof of

20   Claim form. Mitsubishi Preliminary Approval Order *7; Mitsubishi Notice Decl., Ex. A at 3.

21          The Settlement Administrator responded to inquiries and communications from claimants

22   by postal mail to an established Post Office Box, by email to a monitored account, and by

23   telephone calls to a dedicated toll-free telephone number. Christman Decl. ¶ 4; see also id. ¶ 28.

24   The Settlement Administrator also created and maintained a settlement website

25   (www.CRTDirectPurchaserAntitrustSettlement.com), which made available the settlement

26   agreements, the preliminary approval orders, the Final Approval Orders, the Final Judgments, the

27   notices, and a downloadable Proof of Claim form. Id. ¶ 4. In addition, claimants could submit their

28   Proof of Claim forms through the website from September 11, 2015 through December 10, 2015,
                                                    7
          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 11 of 20




 1   and from February 27, 2017 through May 29, 2017. See Order Approving Claim Form at 1; Claim

 2   Form Notice Decl., Ex. A; Mitsubishi Preliminary Approval Order *7; Mitsubishi Notice Decl.,

 3   Ex. A at 3; Christman Decl. ¶ 6. The format of the Proof of Claim form was designed to be clear

 4   and simple so that potential claimants could easily fill out the form and provide information

 5   required in support of their claims. Christman Decl. ¶ 6.

 6          D.      The Settlement Administrator’s Review of Claims

 7          The Settlement Administrator received and processed 4,080 Proof of Claim forms,

 8   including 73 received after the May 29, 2017 deadline. Id. ¶ 7. The total value of CRT claims

 9   received—tubes valued at 100%, monitors valued at 75%, and televisions valued at 50%, referred

10   to as “Calculated CRT Purchases”—exceeded $19 billion. Id. For quality control purposes, each

11   paper and electronic Proof of Claim form submitted was given a unique claim number and entered

12   into a database. Id.

13          The Settlement Administrator reviewed each submitted Proof of Claim form, including late

14   submissions, to determine whether it was complete. Id. ¶ 9. Proof of Claim forms included the

15   following deficiencies: a) missing purchase information; b) missing signature; c) ineligible

16   purchases; or d) missing or insufficient proof of authority to file on behalf of the claimant. Id. The

17   Settlement Administrator sent a “Notice of Deficient Claim” to all such claimants, advising them

18   of the deficiency and requesting a correction. Id. ¶ 10. The Settlement Administrator reviewed and

19   corrected deficiencies that were provided, but did not perform any further outreach to insufficient

20   responses unless requested by the claimant. Id.

21          The Settlement Administrator also reviewed all filed claims to determine if any were

22   duplicative, or if any competing claims were submitted by different entities on behalf of the same

23   claimant. Id. ¶ 9. As part of its review, the Settlement Administrator removed identical claims and

24   consolidated partial duplicates. Id. ¶ 11. Where competing claims were filed, the Settlement

25   Administrator defaulted to the claim filed by the claimant (where a competing claim had been

26   filed by a Third Party Filer), or reached out to both parties to identify the master and duplicate

27   claims. Id. The Settlement Administrator resolved all complete duplicate, partial duplicate and

28   competing claims. Id.
                                                        8
           DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                          SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
         Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 12 of 20




 1           The Settlement Administrator also reviewed all filed claims for potential fraud. Id. ¶ 12. It

 2   flagged claims where certain criteria were met, including: a) multiple claims filed using a single IP

 3   address; b) multiple claims filed with a pattern of slight variance in the claim name, email address,

 4   and/or mailing address; and c) claims filed by individuals who have been previously identified as

 5   fraudulent filers in other cases administered by the Settlement Administrator. Id. Claims

 6   determined to be fraudulent were rejected and sent a “Notice of Rejected Claim.” Id. Claims

 7   identified as potentially fraudulent were sent a “Request for Documentation.” Id. Where no

 8   response was provided, the potentially fraudulent claim was rejected without further outreach. Id.

 9   Where a response was provided, the Settlement Administrator reviewed the response and made a

10   determination. Id.

11           The Settlement Administrator sent a total of 7,667 notifications and requests regarding all

12   4,080 claims on a rolling basis as determinations were made. Id. ¶ 13. To the extent multiple

13   claims could be addressed in a single notification or request (for entities who filed claims on

14   behalf of multiple claimants), or where a notification or request served multiple purposes (for

15   example, outlining a deficiency and also requesting documentation), they were consolidated. Id.

16   The deadline to respond or dispute for each notification or request has passed. Id.

17           All claims were subject to review and/or audit by the Settlement Administrator. Id. ¶ 14.

18   All claims calculated to be valued over $100,000 in Calculated CRT Purchases3—which

19   constituted 89.59% of the total dollar value of all claims—were audited and are referred to as

20   “Top Claims.” Christman Decl. ¶ 14. Claims which fell below the review threshold are referred to

21   as “Basic Claims.” Id. In total, 323 Top Claims were audited. Id. For the claims selected for audit,

22   the purchase data provided by Defendants were compared to the purchase amounts submitted by

23   the claimants. Id. ¶¶ 15–16. The Settlement Administrator approved Top Claims that were

24   consistent with sales records produced by Defendants. Id. ¶ 15. For Top Claims that were greater

25   than the amounts reflected in Defendants’ records, or were not contained therein, the Settlement

26
     3
27     For the purposes of determining each approved claimant’s pro rata allocation, claims for CRT
     tubes were valued at 100% of their purchase price, CRT computer monitors were valued at 75%,
28   and CRT televisions were valued at 50%. See, e.g., Chunghwa & Philips Notice Decl., Ex. A at 3.
                                                     9
           DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                          SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 13 of 20




 1   Administrator requested and reviewed documentation submitted by the claimant to determine

 2   whether each claim was valid. Id. ¶¶ 15–16. The Settlement Administrator manually reviewed tens

 3   of thousands of line items across numerous Top Claims to determine eligibility. Id. ¶ 18. Where

 4   claimants did not respond to requests for documentation, they were notified that their claims were

 5   adjusted to the amount reflected in the Defendant data or, if there was no such data, that the claim

 6   was denied. Id. ¶ 15. The Settlement Administrator has sent letters to all claimants notifying them

 7   of its final determination of their claims. Id. ¶¶ 23, 28.

 8           In sum, after the completion of audits, document and data review, communications with

 9   claimants, and processing of late claims, the total purchases by all approved claimants was

10   $7,509,205,905.76 in Calculated CRT Purchases, approximately $11,521,511,132.69, or 60.54%,

11   less than the total purchases claimed in the Proof of Claim forms as initially submitted. See id. ¶¶ 7,

12   26. A total of 577 claims were ineligible. Id. ¶ 27, Ex. B. The rejected claims break down as

13   follows:

14              316 claims were rejected because the claimant’s response to the Notice of Deficient

15               Claim and/or the Request for Documentation did not provide sufficient information or

16               documentation to substantiate the claim, or the claimant did not respond;

17              234 claims were rejected because the claim was deemed to be fraudulent;

18              23 claims were rejected because the entirety of the purchases claimed were either

19               indirect purchases of CRTs or CRT Finished Products manufactured by the Defendants

20               or Co-Conspirators, or were CRTs or CRT Finished Products manufactured by a non-

21               Defendant or Co-Conspirator;

22              2 claims were rejected because the entirety of the purchases claimed were not CRTs or

23               CRT Finished Products; and

24              2 claims were rejected because the claimant entities were subsidiaries and/or affiliates

25               of Defendants or Co-Conspirators and thus are not members of the class.

26   Id. All claimants who submitted ineligible claims were notified of any deficiencies, were given the

27   opportunity to cure the deficiencies, and failed to cure the deficiencies. Id. In addition, 307 were

28   marked as duplicate claims and 1,362 were withdrawn by the claimant, the vast majority of which
                                                   10
           DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                          SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
         Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 14 of 20




 1   were withdrawn in response to a request for documentation and/or Notice of Deficient Claim. Id.

 2   ¶ 25.

 3            After the completion of processing and auditing claims, the Settlement Administrator has

 4   notified all claimants of the final determination of their claims. Id. ¶ 28. Attached as Exhibit D to

 5   the Christman Declaration is a list of the 1,834 approved claimants and their proposed pro rata

 6   payments from the Net Settlement Funds based on the dollar amount each class member paid to

 7   Defendants for direct purchases of CRTs and CRT Products during the Class Period. Id. ¶¶ 7 n.2,

 8   32–34.

 9            E.     Settlement Funds Available for Distribution

10            The Settlement Administrator has performed a thorough audit of the individual settlement

11   funds. Id. ¶ 29. As of March 31, 2022, approximately $143,930,610.22 remains in the Net

12   Settlement Funds, which includes the settlement proceeds plus accrued interest, less Court-ordered

13   attorneys’ fees, costs and expenses, and incentive benefits to Class Representatives. Id. In addition,

14   from September 11, 2015 through December 31, 2021, the Settlement Administrator has incurred

15   claims administration and notice costs in the amount of $1,291,445.86 that have not yet been paid.

16   Id. ¶ 30, Ex. C. The Settlement Administrator has also submitted an estimated budget of

17   $70,660.76 for all remaining claims administration costs. Id. This figure includes the cost of

18   providing reports and materials in support of the instant Motion, printing and mailing distribution

19   checks to eligible claimants by prepaid first-class mail, issuing replacement checks for

20   undeliverable mailings upon request by authorized claimants, and continuing to respond to

21   inquiries from class members. Id. Plaintiffs also recommend reserving $250,000.00 of the Net

22   Settlement Funds for potential tax liability and other issues that may arise. Id. ¶ 31.4 Thus,

23   $142,318,503.60 is available for distribution which is equal to the current Net Settlement Funds of

24   $143,930,610.22, less $1,291,445.86 to be paid for notice and claims administration costs incurred

25   and billed, and less $320,660.76 to be held in reserve of which $70,660.76 is for further unpaid

26
     4
27    To the extent this reserve is not required, these funds would be combined with the funds from
     uncashed checks and distributed in like manner in accordance with instructions provided by the
28   Court for uncashed checks. Id. n.3.
                                                        11
             DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                            SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
         Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 15 of 20




 1   administration costs and $250,000.00 is for potential tax liability and other issues. See id. ¶¶ 29–

 2   31.5

 3           Accordingly, after accounting for administrative costs incurred ($1,291,445.86), and

 4   reserving for future administrative costs ($70,660.76), and tax liability or other issues

 5   ($250,000.00), a total of $142,318,503.60 Net Settlement Funds are available for distribution.

 6   Christman Decl. ¶ 31.

 7           F.     Calculations of Claimants’ Pro Rata Shares

 8           To calculate the payment amounts to approved claimants, the Settlement Administrator

 9   followed the Court-approved Plan of Allocation. Id. ¶¶ 32–33. The Settlement Administrator

10   administered each settlement fund separately in accordance with the class definition of that

11   settlement fund. Id. ¶ 32. Each claimant’s approved purchases of CRT tubes, CRT computer

12   monitors, and/or CRT color televisions were converted to Calculated CRT Purchases to arrive at

13   the approved amount for each approved claim from each individual settlement fund from which the

14   claimant was entitled to draw upon for those particular purchases. Id. ¶ 33. For example, a claimant

15   that opted out of a particular settlement was not entitled to receive funds from that particular

16   settlement fund, and purchases from those defendants did not count toward that claimant’s total

17   qualifying purchases for the purposes of determining that claimant’s pro rata share of each

18   settlement. Id. ¶ 32. Each claimant’s approved purchases were then divided by the total number of

19   claimed purchases eligible to receive funds from that particular settlement fund to calculate each

20   eligible claimant’s pro rata share (%) of each fund. Id. ¶ 33.

21           Once these percentages were established for each claimant, they were applied against the

22   corresponding settlement funds to determine the claimant’s strict pro rata share of each particular

23   settlement fund. Id. ¶ 35, Ex. E. This process was performed for all claimants and across each of

24   the nine settlement funds. Attached as Exhibit E to the Christman Declaration is a schedule of all

25   claimants with each approved claimant’s strict pro rata share of each Settlement Fund.

26

27   5
       Of the $142,318,503.60 total funds available for the proposed distribution, id. ¶ 31, $9.33 would
     not be distributed at this time due to rounding issues. Id. ¶ 34. These funds would be distributed at
28   a later date. See supra, n.4.
                                                        12
            DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                           SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 16 of 20




 1           Furthermore, as explained in greater detail below, Lead Counsel recommends that the Court

 2   set a payment “floor” such that each approved claimant is paid no less than $10.00. Accordingly,

 3   the Settlement Administrator re-calculated the payment for each of the claims that would have

 4   resulted in a payment of less than $10.00 under a strict pro rata distribution. Id. ¶ 34. Attached as

 5   Exhibit D to the Christman Declaration is a schedule of all claimants with each approved

 6   claimant’s recommended total pro rata share of the total Settlement Funds after accounting for the

 7   $10.00 minimum payment for all approved claimants.

 8   III.    ARGUMENT

 9           Plaintiffs request an Order authorizing the distribution of the Net Settlement Funds to the

10   approved claimants in the amounts set forth in Exhibit D to the Christman Declaration. Entry of an

11   Order permitting a distribution of the Net Settlement Funds to all approved claimants is proper and

12   appropriate at this time because final judgments have been entered and the time to appeal the

13   settlement agreements has expired. See 4 Newberg on Class Actions, § 12:19 (5th ed.). The Court

14   has approved a pro rata Plan of Allocation. As set forth in the notices, the Settlement Funds will be

15   allocated on a pro rata basis based on the dollar value of each class member’s purchase(s) of CRTs

16   and CRT Products in proportion to the total claims filed; purchases of CRTs are valued at 100% of

17   their purchase price, computer monitors are valued at 75%, and televisions are valued at 50%.

18   Chunghwa & Philips Notice Decl., Ex. A at 3; Panasonic Notice Decl., Ex. A at 3; LG Notice

19   Decl., Ex. A at 3; Toshiba Notice Decl., Ex. A at 3; Hitachi & Samsung Notice Decl., Ex. A at 3;

20   Thomson Notice Decl., Ex. A at 3; Mitsubishi Notice Decl., Ex. A at 3. To determine each

21   claimant’s pro rata share of the Net Settlement Funds, the Settlement Administrator calculated each

22   valid claimant’s total qualifying purchases and divided those purchases by the total qualifying

23   purchases claimed; the resulting percentages were then each multiplied by each Net Settlement

24   Fund in which the claimant is participating, i.e., is not a claimant who filed for payment from one

25   of more settlement funds from which it requested exclusion (total settlement minus proportional

26   share of all costs, attorneys’ fees, and expenses). Christman Decl. ¶¶ 32–33; see also id., Ex. A (list

27   of requests for exclusion and Opt-Out Claimants). Attached as Exhibit E to the Christman

28   Declaration is a schedule of all claimants with each approved claimant’s strict pro rata share of
                                                       13
            DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                           SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 17 of 20




 1   each settlement fund.

 2          Distribution of the Net Settlement Funds, as set forth in Exhibit D to the Christman

 3   Declaration, will give effect to the approved pro rata Plan of Allocation compensating class

 4   members based on the extent of their injuries. See In re Anthem, Inc. Data Breach Litig., 327

 5   F.R.D. 299, 332 (N.D. Cal. 2018) (“A plan of allocation that reimburses class members based on

 6   the type and extent of their injuries is generally reasonable.”). The proposed plan of distribution

 7   provides for a payment to all class members with valid claims and, as discussed above and further

 8   below, sets a “floor” such that each approved claimant is paid no less than $10.00.

 9          The Settlement Administrator has completed a fair, reasonable, and adequate review of the

10   claims. Courts typically give “deference” to decisions of an impartial settlement administrator who

11   facilitates the implementation of a settlement agreement. In re Int’l Air Transp. Surcharge Antitrust

12   Litig., No. M 06-01793 CRB, 2011 WL 6337625, at *2 (N.D. Cal. Dec. 19, 2011), aff’d, 577 F.

13   App’x 711 (9th Cir. 2014) (“The Settlement Administrator, who was involved in the mediation and

14   negotiation of the settlement agreements, and has been administering the funds for three years, has

15   direct and extensive knowledge of this case. . . . Thus, the Court must give some deference to his

16   recommendation as to factual matters.”). The Settlement Administrator established and followed

17   quality control measures to ensure that each claim was properly tracked and notified claimants of

18   potential deficiencies, including incomplete Proof of Claim forms that were not signed and

19   certified, Proof of Claim forms that appeared potentially duplicative, and Top Claims that lacked

20   supporting information. Christman Decl. ¶¶ 7, 9–10.

21          Claimants had adequate opportunity to cure any deficiencies by providing additional

22   information or documentation. See, e.g., id. ¶¶ 10–13, 22–23, 28. The Settlement Administrator

23   processed late claims, and also considered late responses to requests for information considered to

24   be timely if relevant documentation and/or information was provided. Id. ¶¶ 7, 13. Additionally,

25   where possible, the Settlement Administrator used data provided by Settling Defendants to help

26   substantiate certain claims. See id. ¶¶ 15–16. Third, the Settlement Administrator and Lead

27   Counsel spent a significant amount of time working with claimants and/or their representatives or

28   counsel to resolve claim disputes. Id. ¶¶ 23, 28.
                                                         14
          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 18 of 20




 1           The efforts of the Settlement Administrator and Lead Counsel substantially increased

 2   eligible claimants’ pro rata recoveries. At the start of the claims process, the value of all claims

 3   received was calculated to be in excess of $19 billion. Id. ¶ 7. After the completion of audits,

 4   document review, communications with claimants, and processing of late claims, the Settlement

 5   Administrator determined that total purchases by approved claimants was approximately $7.5

 6   billion, over $11.5 billion less than the total value of the original Proof of Claim forms submitted.

 7   Id. ¶ 26.

 8           Finally, Lead Counsel recommends that the Court set a payment “floor” such that each

 9   approved claimant is paid no less than $10.00. Of the 1,834 valid claims submitted, 374 approved

10   claimants would receive payments of less than $10.00 under a strict pro rata distribution. Id. ¶ 34;

11   see also id., Ex. E. Although the proposed $10.00 payment is greater than the value of some

12   individuals’ claims, such a threshold would conserve administration funds and provide a greater net

13   benefit to the class overall because:

14              Issuing certain checks for amounts less than $10.00 would result in administrative costs

15               greater than the amount of the payment;

16              Checks of less than $10.00 are less likely to be cashed;

17              Uncashed checks result in additional administrative expenses related to tracking

18               uncashed, expired checks, and reissuing checks to replace them.

19   Id. ¶ 34.

20           Courts in this District and elsewhere have set minimum distribution payments for all

21   approved claimants, thereby adjusting the pro rata plan of allocation in order to ensure meaningful

22   participation in the settlements and conserve administration costs. For example, in the ODD direct

23   purchaser action, Judge Seeborg authorized minimum payments of $10.00 to all class members

24   who submitted valid claims. Order Granting Direct Purchaser Pls.’ Mot. for Order Authorizing

25   Distribution of Settlement Funds ¶ 8, Attachment 2, In re Optical Disk Drive Antitrust Litig., No.

26   3:10-md-02143 RS (N.D. Cal. Sept. 16, 2019) (ECF Nos. 2906, 2906-1).

27           Similarly, in the Lithium Ion Batteries direct purchaser action, Judge Gonzalez Rogers

28   approved a $10.00 “floor” payment for small claimants. Corrected Order Authorizing Distribution
                                                    15
           DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                          SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 19 of 20




 1   of Settlement Funds (DPP Settlements) ¶ 1, In re Lithium Ion Batteries Antitrust Litig., No. 13-md-

 2   02420-YGR, MDL No. 2420 (N.D. Cal. Dec. 14, 2020) (ECF No. 2684) (“In order to conserve

 3   administration costs and therefore provide a greater net benefit to the class overall, the Settlement

 4   Administrator shall distribute to each approved claimant with an eligible claim a minimum

 5   payment of $10.00 regardless of the value of the claimant’s strict pro rata share of the total

 6   settlement funds.”). See also In re Dynamic Random Access Memory (DRAM) Antitrust Litig., No.

 7   M-02-1486-PJH, 2013 WL 12333442, at *13–14, 80–81, 91 n.250 (N.D. Cal. Jan. 8, 2013) (noting

 8   the court’s broad powers in ensuring an equitable distribution of settlement proceeds and affirming

 9   the fairness, reasonableness and adequacy of plan of distribution that “adjusts all claimants’ pro

10   rata ‘payments’ by raising all of the claims . . . of less than $10.00 up to $10.00”), report and

11   recommendation adopted by 2014 WL 12879520 (N.D. Cal. June 27, 2014); In re Ins. Brokerage

12   Antitrust Litig., 297 F.R.D. 136, 143 (D.N.J. 2013) (“as a matter of administrative efficiency, all

13   Settlement Class members will receive a minimum payment of at least $10, and the payments to

14   Settlement Class members that would otherwise receive less than $10 on a straight pro rata basis

15   will be increased to $10”); In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d 467, 498

16   (S.D.N.Y. 2009) (“Each Authorized Claimant with a valid Recognized Claim will receive—at a

17   minimum—ten dollars no matter how small his, her, or its Recognized Claim. . . . [A] minimum

18   claim amount is required to enable class members with relatively small claims to participate

19   meaningfully.”) (footnote omitted); Standard Iron Works v. ArcelorMittal, No. 08 C 5214, 2015

20   WL 6165024, at *2 (N.D. Ill. Oct. 20, 2015) ($100 minimum); In re Auto. Parts Antitrust Litig.,

21   No. 12-md-02311, 2019 WL 7877812, at *2 (E.D. Mich. Dec. 20, 2019) ($100 minimum); Mehling

22   v. New York Life Ins. Co., 248 F.R.D. 455, 463 (E.D. Pa. 2008) ($50 minimum); Slipchenko v.

23   Brunel Energy, Inc., No. H-11-1465, 2015 WL 338358, at *3 (S.D. Tex. Jan. 23, 2015) ($100

24   minimum); Downes v. Wisconsin Energy Corp. Ret. Account Plan, No. 09-C-0637, 2012 WL

25   1410023, at *3 (E.D. Wis. Apr. 20, 2012) ($250 minimum).

26          In sum, distributing the Net Settlement Funds to all approved claimants, as set forth above

27   and in Exhibit D to the Christman Declaration, gives effect to the Plan of Allocation previously

28   approved by the Court, and is fair, reasonable, and adequate.
                                                       16
          DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                         SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
       Case 4:07-cv-05944-JST Document 6005 Filed 03/31/22 Page 20 of 20




 1   IV.    CONCLUSION

 2          For the foregoing reasons, Plaintiffs respectfully request that the Court enter an Order: 1)

 3   approving the Settlement Administrator’s recommendations regarding the ineligibility of claims set

 4   forth in Exhibit B to the Christman Declaration; 2) authorizing payment of all claims approved by

 5   the Settlement Administrator according to the pro rata Plan of Allocation, as set forth in Exhibit D

 6   to the Christman Declaration; 3) authorizing payment to the Settlement Administrator for

 7   unreimbursed costs and expenses incurred in the amount of $1,291,445.86; and 4) authorizing

 8   Plaintiffs to reserve in escrow $70,660.76 for the payment of additional claims administration

 9   costs, as well as $250,000 for potential tax liability or other issues.

10

11   Dated: March 31, 2022                               Respectfully submitted,

12
                                                         /s/ R. Alexander Saveri
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           DIRECT PURCHASER PLAINTIFFS’ MOTION FOR ORDER AUTHORIZING DISTRIBUTION OF
                          SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
